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EXHIBIT 1
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From: Heidlberger, Frank <Frank.Heidlberger@unt.edu>
Sent: Thursday, July 30, 2020 10:38 AM
To: Friedson, Steven <Steven.Friedson@unt.edu>; Geoffroy-Schwinden, Rebecca <Rebecca.Geoffroy-
Schwinden@unt.edu>; Notley, Margaret <Margaret.Notley@unt.edu>
Cc: Ragland, Catherine <Catherine.Ragland@unt.edu>; Mondelli, Peter <Peter.Mondelli@unt.edu>;
Prince, April <April.Prince@unt.edu>; Virani, Vivek <Vivek.Virani@unt.edu>; Schulze, Hendrik
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<Benjamin.Graf@unt.edu>; Robertson, Gillian <Gillian.Robertson@unt.edu>; Slottow, Stephen
<Stephen.Slottow@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>; Chung, Andrew
<Andrew.Chung@unt.edu>
Subject: Re: Faculty Statement on the Recent issue of JSS



Dear Rebecca, and all
I enthusiastically endorse this letter. Please attach my name to the letter.
I shared the draft with our previous chair, Eileen Hayes, who is leading the anti-racism
efforts as president of CMS. This is what she responded:


"Thanks for sharing. This is fantastic! I am extremely proud to be associated with a
division that would offer such a statement. [...].
... last sentence: "...to address and eliminate systemic racism within our specific
disciplines."
You have really given me great hope this morning, with your letter. I was also proud of
SMT's statement posted to Facebook. This is a period in which we are experiencing
numerous trials, many of them centered around race. The MHTE letter makes me proud
that I have lived to see such a statement issued from a College of Music."

I support her suggestion for editing the last sentence. Please do so.

Thanks for your support,
Frank




Dr. Frank Heidlberger
Professor of Music Theory
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